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9     UNITED STATES OF AMERICA
10                            UNITED STATES DISTRICT COURT
11                      FOR THE CENTRAL DISTRICT OF CALIFORNIA
12    UNITED STATES OF AMERICA,                No. CR 13-106(A)-DOC

13               Plaintiff,                    [PROPOSED] ORDER DENYING
                                               DEFENDANT’S MOTION FOR NEW TRIAL
14                     v.                      PURSUANT TO RULE 33(b)(1) OF THE
                                               FEDERAL RULES OF CRIMINAL
15    MONGOL NATION,                           PROCEDURE
        An unincorporated association,
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                 Defendant.
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21          The Court having read and considered the briefs submitted by the
22    parties in this matter, the testimony of witnesses and exhibits
23    received over the course of hearings conducted, the Court hereby
24    finds that the defendant has not met its burden to vacate the jury’s
25    verdict and the convictions of the defendant in this matter and grant
26    a new trial based on a claim of newly discovered evidence.
27          Defendant has not met its burden to show newly discovered
28    evidence, pursuant to Rule 33(b)(1) of the Federal Rules of Criminal
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1     Procedure.    Defendant has not shown: (1) evidence that is newly

2     discovered; (2) that the failure to discover the evidence sooner was

3     not due to a lack of diligence; (3) the evidence was material to

4     trial issues; (3) was not cumulative or merely impeaching; and (5) a

5     new trial would probably result in acquittal.

6           The Motion is therefore DENIED.

7           IT IS SO ORDERED.

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10
        DATE                                      HONORABLE DAVID O. CARTER
11                                                UNITED STATES DISTRICT JUDGE
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14    Presented by:
15     /s/Christopher Brunwin
       CHRISTOPHER BRUNWIN
16     Assistant United States Attorney
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